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               EXHIBIT 2
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     LBG8MAXVD1

1    UNITED STATES DISTRICT COURT
     SOUTHERN DISTRICT OF NEW YORK
2    ------------------------------x
     UNITED STATES OF AMERICA,
3
                 v.                                  20-cr-330 (AJN)
4
     GHISLAINE MAXWELL,
5
                    Defendant.                       Voir Dire
6    ------------------------------x
                                                     New York, N.Y.
7                                                    November 16, 2021
                                                     8:45 a.m.
8
     Before:
9                            HON. ALISON J. NATHAN,

10                                                 District Judge

11                                 APPEARANCES

12   DAMIAN WILLIAMS
          United States Attorney for the
13        Southern District of New York
     BY: MAURENE COMEY
14        ALISON MOE
          LARA POMERANTZ
15        ANDREW ROHRBACH
          Assistant United States Attorneys
16
     HADDON MORGAN AND FOREMAN
17        Attorneys for Defendant
     BY: JEFFREY S. PAGLIUCA
18        CHRISTIAN R. EVERDELL
          LAURA A. MENNINGER
19           -and-
     BOBBI C. STERNHEIM
20        Attorney for Defendant
             -and-
21   RENATO STABILE
          Attorney for Defendant
22
     Also Present:    SUNNY DRESCHER,
23                       Paralegal, U.S. Attorney's Office
                      CAMILLE DELGADO,
24                       Paralegal, Haddon Morgan and Foreman

25


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1              MR. PAGLIUCA:     No, your Honor.     Thank you.

2              THE COURT:     Thank you.

3              Juror No. 49, thank you.       My law clerk is going to

4    give you instructions about the next step.         Thank you for your

5    time.

6              (Juror exits courtroom)

7              THE COURT:     Juror No. 50.

8              (Juror present)

9              THE COURT:     Good afternoon, Juror No. 50.       I am Judge

10   Nathan.   It's nice to see you in person, and thank you for your

11   time.

12             I am going to ask you some follow-up questions related

13   to some of your responses that you provided and some additional

14   questions.

15             First, as I instructed you earlier, the defendant in

16   this case, Ms. Maxwell, is presumed innocent of all charges

17   unless and until the government proves her guilt beyond a

18   reasonable doubt.     Are you able to follow that instruction?

19             JUROR:   Yes.

20             THE COURT:     As I instructed you, until you are excused

21   from the case, you may not take in any kind of media about the

22   case, social media, TV, radio, online, print, anything, or

23   discuss the case with anyone.       Would you have any difficulty

24   following that instruction?

25             JUROR:   No.


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1              THE COURT:     Since you took the questionnaire -- now is

2    the time to tell me -- have you read or researched or discussed

3    the case with anyone?

4              JUROR:   I have not.

5              THE COURT:     Schedule.   The trial will start on

6    November 29.    We estimate approximately six weeks.        Can you sit

7    during that time?

8              JUROR:   Yes.

9              THE COURT:     I am going to ask you to pick up the

10   binder in front of you, please.

11             If you turn to Tab 2, there are three pages that lists

12   names of people who may be mentioned during the trial.           I want

13   you to take your time, read all of those names.          If there are

14   any that are familiar to you, please let me know what number.

15             JUROR:   None.

16             THE COURT:     Three pages.

17             JUROR:   None.

18             THE COURT:     Then the next tab is one page, and it

19   lists some addresses and entities that may be mentioned during

20   trial.   Here, the question is not whether you have heard of any

21   of them, but do you have any specific familiarity?

22             JUROR:   No.

23             THE COURT:     Then the last tab.     As the instructions

24   say, don't say it out loud, but just yes or no.          Other than

25   having heard of it, do you have any specific familiarity?


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1               JUROR:   No, I do not.

2               THE COURT:   You can put that aside.

3               You have indicated in your questionnaire that before

4    the questionnaire you had heard about Ms. Maxwell.          Do you

5    recall where you heard about her?

6               JUROR:   I heard when Jeffrey Epstein had died that he

7    had had a girlfriend, just from a news article, a news

8    broadcast on CNN.

9               THE COURT:   Other than what you just described, do you

10   remember hearing anything else about Ms. Maxwell?

11              JUROR:   Nothing.

12              THE COURT:   The question is -- it's an important

13   question -- can you put aside anything that you have read or

14   heard about Ms. Maxwell and decide the case based on the facts

15   and evidence, or lack of evidence, here presented in court?

16              JUROR:   Absolutely.

17              THE COURT:   And follow my instructions as to the law?

18              JUROR:   Yes.

19              THE COURT:   In your questionnaire, you indicated

20   before the questionnaire you had heard about Mr. Epstein.            What

21   you described, you said CNN.       Other than what you have

22   described, do you recall anything that you heard about Mr.

23   Epstein?

24              JUROR:   Not really.    I don't really have cable, so

25   it's very rare that I even see anything.


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1              THE COURT:     Based on what you did here or read

2    previously, same question, can you put it aside, decide the

3    case based on the facts and evidence, or lack of evidence, here

4    presented in court?

5              JUROR:   Yes.

6              THE COURT:     Any doubt about that?

7              JUROR:   No doubt.

8              THE COURT:     Let me ask you, do you have any reason to

9    think you might have any bias either for or against law

10   enforcement of any kind?

11             JUROR:   No.

12             THE COURT:     Any reason to think you have any bias for

13   or against criminal defense lawyers?

14             JUROR:   No.

15             THE COURT:     Do you have any opinion about the criminal

16   justice system, generally, or the federal criminal justice

17   system that might make it difficult for you to be fair and

18   impartial here?

19             JUROR:   No.

20             THE COURT:     Do you have any opinion about people who

21   are wealthy or who have luxurious lifestyles that might make it

22   difficult for you to be fair and impartial here?

23             JUROR:   No.

24             THE COURT:     Counsel, anything further before

25   background questions?


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1               MS. POMERANTZ:    No.

2               MS. STERNHEIM:    No.

3               THE COURT:   Juror No. 50, how old are you?

4               JUROR:   I am 35.

5               THE COURT:   What county do you live in?

6               JUROR:   I live in Manhattan.

7               THE COURT:   How long have you lived here?

8               JUROR:   Ten years.

9               THE COURT:   How far did you go in school?

10              JUROR:   I finished my bachelor's degree.

11              THE COURT:   What did you study?

12              JUROR:   Finance.

13              THE COURT:   Are you working now?

14              JUROR:   Yes.

15              THE COURT:   What kind of work?

16              JUROR:   I am an executive assistant in finance.

17              THE COURT:   And you work at a private company of some

18   kind?

19              JUROR:   Yes.

20              THE COURT:   How long have you been in that position?

21              JUROR:   With this company, almost four years now.

22              THE COURT:   Same position with another company prior

23   to that?

24              JUROR:   Yes.   Ever since I graduated college in 2008.

25              THE COURT:   Do you live with anybody?


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1              JUROR:   I live alone.

2              THE COURT:     Do you typically read any newspapers or

3    magazines, either in print or online?

4              JUROR:   No, I do not.

5              THE COURT:     Do you frequently visit any particular

6    websites?

7              JUROR:   No.

8              THE COURT:     Ever comment or post on websites?

9              JUROR:   No.

10             THE COURT:     Do you use social media?

11             JUROR:   I do, but I actually just deleted them because

12   I just got out of a relationship and I didn't want to see

13   anything regarding them.      So I am fully off of it right now.

14             THE COURT:     What did you use, Facebook, Twitter?

15             JUROR:   I used Facebook and Instagram.

16             THE COURT:     When you had those, what kind of stuff

17   would you post?    Would you post about news of the day or

18   politics or personal stuff?

19             JUROR:   Personal stuff, like selfies.

20             THE COURT:     How long ago did you delete your accounts?

21             JUROR:   It was actually last week.

22             THE COURT:     Do you watch television?

23             JUROR:   I have Netflix, so I watch Netflix.

24             THE COURT:     What kind of shows?

25             JUROR:   Comedies, funny things.


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1              THE COURT:     Do you listen to the radio?

2              JUROR:   I do not.    I do listen to music, though.

3              THE COURT:     What about podcasts?

4              JUROR:   I do not.

5              THE COURT:     Hobbies or things you do for fun?

6              JUROR:   I love to travel and hang out with friends.

7              THE COURT:     Have you ever followed a criminal case

8    either on the news or podcasts or the like?

9              JUROR:   I have not.

10             THE COURT:     Any clubs or organizations to which you

11   contribute time or money?

12             JUROR:   I do not contribute to anything right now.

13             THE COURT:     You have in the past?

14             JUROR:   In college.

15             THE COURT:     In these questions, I have tried to, of

16   course, get a sense of whether you can be fair to both sides in

17   this case.    Any doubt about your ability to do that?

18             JUROR:   No.

19             THE COURT:     Other than what I have asked you, do you

20   have any reason to think that you can't be fair and impartial

21   here?

22             JUROR:   I do not.

23             THE COURT:     Counsel, any questions?

24             MS. POMERANTZ:     No.   Thank you.

25             MS. STERNHEIM:     No.   Thank you.


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1              THE COURT:    Juror No. 50, thank you so much.        My law

2    clerk is going to give you instructions about the next step,

3    and I thank you for your time.

4              (Juror exits courtroom)

5              (Continued on next page)

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